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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Christine M. Arguello


   Criminal Action No. 05-cr-00311-CMA

   UNITED STATES OF AMERICA,

         Plaintiff,

   v.

   FREDERICK OLUWOLE SOLARIN,

         Defendant.


              ORDER DENYING MOTION FOR COMPASSIONATE RELEASE


         This matter is before the Court on Defendant Frederick Oluwole Solarin’s Motion

   for Compassionate Release (Doc. # 302). This is Mr. Solarin’s third such motion.

   Because Mr. Solarin raises no new grounds justifying early release, the Court denies

   the Motion.

         Mr. Solarin filed his first Motion for Compassionate Release (Doc. # 260) on

   September 11, 2020. After thoroughly reviewing the motion, supplemental submissions

   from Mr. Solarin, and the applicable law, and after considering the factors provided in 18

   U.S.C. § 3553(a) and applicable policy statements issued by the Sentencing

   Commission, the Court denied Mr. Solarin’s request for early release. (Doc. # 282.) The

   Court found that Mr. Solarin would pose a danger to public safety if released back into

   the community. (Id. at 4); see USSG § 1B1.13(2) (providing that a court may only

   reduce a term of imprisonment if it determines that a defendant “is not a danger to the
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   safety of any other person or to the community”). Mr. Solarin then filed a Motion for

   Reconsideration of Order Denying Compassionate Release (Doc. # 288). The Court

   denied Mr. Solarin’s request for reconsideration on July 12, 2021. (Doc. # 300.) Mr.

   Solarin subsequently filed this third Motion for Compassionate Release (Doc. # 302) on

   January 21, 2022.

          After thoroughly reviewing the instant Motion, the Court finds that Mr. Solarin

   does not present new grounds justifying compassionate release. Rather, Mr. Solarin

   attempts to rehash arguments already addressed by this Court and objects again to the

   Court’s consideration of the 18 U.S.C. § 3553(a) sentencing factors and his original

   guideline sentence in this case. Thus, Mr. Solarin’s successive Motion for

   Compassionate Release constitutes an improper third bite at the apple and amounts to

   an unnecessary burden on judicial resources. The Court finds that Mr. Solarin continues

   to present a risk to the community to reoffend and that he is therefore ineligible for early

   release under 18 U.S.C. § 3582(c)(1)(A). See USSG § 1B1.13(2)

          For the foregoing reasons, Mr. Solarin’s Motion for Compassionate Release

   (Doc. # 302) is DENIED.

          DATED: February 4, 2022

                                                    BY THE COURT:


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                                                    CHRISTINE M. ARGUELLO
                                                    United States District Judge




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